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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


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DELTA HILL (DETA),                                                 :
                                                                   :
                                    Plaintiff,                     :
                  v.                                               :
                                                                   : Civil Action No.: 1:22-cv-01397-RGA
STEPHEN KNOTT, WILLIAM ASHE, and ILA,                              :
                                                                   :
                                    Defendants.                    :
                                                                   :
-------------------------------------------------------------------X




                      DEFENDANTS’ BRIEF IN OPPOSITION
                 TO PLAINTIFF’S “MOTION TO CEASE AND DESIST”




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Association and Stephen Knott                         International Longshoremen’s
                                                      Association and Stephen Knott
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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE


    -------------------------------------------------------------------X
    DELTA HILL (DETA),                                                 :
                                                                       :
                                        Plaintiff,                     :
                      v.                                               :
                                                                       : Civil Action No.: 1:22-cv-01397-RGA
    STEPHEN KNOTT, WILLIAM ASHE, and ILA,                              :
                                                                       :
                                        Defendants.                    :
                                                                       :
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                             DEFENDANTS’ BRIEF IN OPPOSITION
                        TO PLAINTIFF’S “MOTION TO CEASE AND DESIST”

                                                 INTRODUCTION

           On November 28, 2022, Plaintiff Deta Hill filed a “Motion to Cease and Desist.” 1 ECF

#14. In this motion, Plaintiff seeks preliminary injunctive relief from this Court in the form of an

order prohibiting the further dissolution of the earlier merger of ILA Local 1694-1 with other ILA

locals. This memorandum will establish that Plaintiff is not entitled to an injunction under the

clear legal standard for injunctive relief because Plaintiff’s motion fails to include evidentiary

support, because Plaintiff is not likely to succeed on the merits of her claims, and because Plaintiff

fails to demonstrate irreparable harm.

                                                    ARGUMENT

           A preliminary injunction is “an extraordinary remedy, which should be granted only in

limited circumstances.” Frank’s GMC Truck Ctr., Inc. v. Gen. Motors Corp., 847 F.2d 100, 102

(3d Cir. 1988) (citation omitted). Specifically, a preliminary injunction may be granted only if the



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    Defendants will refer to pages in the Motion to Cease and Desist by their Page ID# in the electronic filing system.
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moving party shows: (1) a likelihood of success on the merits; (2) irreparable harm if an injunction

is not granted; (3) that the balance of equities tips in favor of the moving party; and (4) that an

injunction is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008);

see also Osorio-Martinez v. Atty Gen. of the United States, 893 F.3d 153, 178 (3d Cir. 2018);

Altana Pharma AG v. Teva Pharm. USA, Inc., 566 F.3d 999, 1005 (Fed. Cir. 2009). This Court

cannot grant Plaintiffs’ preliminary injunction unless Plaintiff has established both a likelihood of

success on the merits and the existence of irreparable harm without the injunctive relief. Vertigo

Media Inc. v. Earbuds Inc., No. 21-120 (MN), 2021 WL 4806410, at *5 (D. Del. Oct. 14, 2021);

Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1350 (Fed. Cir. 2001). Plaintiff

has failed to establish either factor, and moreover, Plaintiffs’ Motion is bare of any evidentiary

support.

A.     Plaintiff Has Submitted No Supporting Evidence

       As noted above, “[i]t frequently is observed that a preliminary injunction is an

extraordinary and drastic remedy, one that should not be granted unless the movant, by a clear

showing, carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997)

(quoting 11A C. Wright, A. Miller, & M. Kane, Federal Practice and Procedure § 2948, pp. 129–

130 (2d ed. 1995)) (“Federal Practice and Procedure”). To make such a “clear showing,” it is

black letter law that the moving party must put forth evidence supporting its claims, and neither

attorney argument nor the allegations in the complaint suffice. See Bullock v. Carney, 463 F. Supp.

3d 519, 524–25 (D. Del. 2020); Societe Comptoir De L’Industrie Cotonniere, Etablissements

Boussac v. Alexander’s Dep’t Stores, Inc., 190 F. Supp. 594, 601 (S.D.N.Y. 1961) (“As support

for a preliminary injunction the court can consider only facts presented by affidavit or [sworn]

testimony. . .”.); Amato v. Elicker, No. 3:20-CV-464 (MPS), 2020 WL 2542788, at *6 n.6 (D.




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Conn. May 19, 2020) (“The Court cannot rely on factual representations in the parties’ briefs to

decide a motion for a preliminary injunction or temporary restraining order.”); Federal Practice &

Procedure § 2949 at 237 (3d ed.) (“Evidence that goes beyond the unverified allegations of the

pleadings and motion papers must be presented to support or oppose a motion for a preliminary

injunction.”).

         In support of her motion, Plaintiff has provided no affidavits, verifications or authenticated

documentary evidence to meet her burden of persuasion. Instead, Plaintiff has presented her own

letters and arguments to the Court. ECF #14-1, Exs. A-L. Though some of the exhibits are true

copies of the documents they purport to be, such as Exs. F (Letter from ILA Pres. Daggett with

Terms of Dissolution of Merger) and K (ILA Code of Ethics), these documents cannot support

Plaintiff’s testimony because Plaintiff has not presented any. As this Court has recently explained,

where a plaintiff’s motion for injunctive relief is “long on argument but short on evidence”—as

Plaintiffs’ certainly is—that motion must be denied. See Vertigo Media Inc., 2021 WL 4806410

at *6.

B.       Plaintiff Is Unlikely To Succeed On The Merits Of Her Claims

         This Court should deny Plaintiffs’ Motion for Preliminary Injunction because Plaintiff

cannot establish a likelihood of success on the merits of her Complaint. It appears from her

Motion for Preliminary Injunction that Plaintiff seeks to enjoin Defendant ILA from dissolving

the merger of ILA Local 1694-1 into ILA Locals 1694, 1883, and 1884 because the dissolution

has an improper purpose. 2



2
  The usual function of a preliminary injunction is to preserve the status quo pending a final determination on the
merits. Brennan v. William Paterson Coll., 492 F. App’x 258, 263 (3d Cir. 2012). The reason is that a court must
retain its ability to render a meaningful decision on the merits. Id. at 263. Here, however, Plaintiffs ask not to preserve
the status quo (i.e., to preserve the functionality of ILA Local 2076) but to undo the dissolution, oust newly elected
union officials, and to dissolve ILA Local 2076. Simply put, Plaintiffs’ proposed preliminary injunction seeks the
ultimate relief that Plaintiffs seek on the merits without having to prove her case at a hearing on the merits.


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       Specifically, Plaintiff alleges that the dissolution of the merger is in effect a re-imposition

of the trusteeship which was imposed on the former ILA Local 1694-1 in May, 2016 and thus must

have been carried out in bad faith. Plaintiff cannot use her motion to challenge the ILA’s decision

in that unrelated case, and besides, members of ILA Local 1694-1 sought and failed to obtain a

temporary restraining order and preliminary injunction seeking to prevent the imposition of that

trusteeship many years ago. See Cephas v. Int’l Longshoremen’s Ass’n, No. 16-cv-00316 (RGA)

(D. Del. July 7, 2016).

       Rather, to succeed on the merits of her claims, Plaintiff must demonstrate through clear

and convincing evidence that the more recent decision to dissolve the ILA Local 1694-1 merger

was done in bad faith. But, “it is common ground that a labor union’s internal affairs comprise

an enclave best kept free from judicial intrusion.” Dow v. United Bhd. of Carpenters, 1 F.3d 56,

58 (1st Cir. 1993) (citing Local No. 48 v. United Bhd. of Carpenters, 920 F.2d 1047, 1051 (1st

Cir. 1990)). “Courts have neither a monopoly on fairness nor a sufficient expertise in the

administration of labor organizations to warrant pervasive judicial interference in the internal

affairs of a union.” Local 48, at 1051. “[J]udicial intervention should be undertaken with only

the greatest care and caution.” Exec. Board Local 1302 v. United Bhd. of Carpenters, 477 F.2d

612, 615 (2d Cir. 1973)). Plaintiffs’ Motion does not present any evidence of bad faith, let alone

the clear and convincing evidence necessary to overcome the presumption that the ILA’s decision

to dissolve the merger of ILA Local 1694-1 was a reasonable one.

C.     Plaintiff Will Not Suffer Irreparable Harm

        Plaintiffs’ Motion for a Preliminary Injunction must also be denied because neither

Plaintiff nor any of the members of the former Local 1694-1 will be irreparably harmed if this

Court denies her motion. This is because Plaintiff and the other members of the former ILA Local

1694-1 may still invoke all of their rights guaranteed by Title I of the Labor Management Reporting


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and Disclosure Act (LMRDA) because those rights have not been affected by the dissolution of

the merger and are preserved through the formation of ILA Local 2076.             “A merger or

consolidation, by itself, is not ‘disciplinary action’ within the meaning of section 101(a)(5).”

Millinery Workers’ Union Local 55/56 v. United Hatters, Cap & Millinery Workers’ Int'l Union,

495 F. Supp. 60, 63 (E.D. Mo. 1980) (citations omitted). Title I-guaranteed rights are typically

unaffected by a merger or consolidation, or a dissolution of a merger where the affected members

are placed into another democratic, self-governing labor organization. E.g., Local No. 48, United

Bhd. of Carpenters v. United Bhd. of Carpenters, 920 F.2d 1047, 1056 (1st Cir. 1990) (holding

mergers and consolidations do not typically affect Title 1 rights).

       Accordingly, because Plaintiff cannot show either a likelihood of success on the merits or

irreparable injury, “a preliminary injunction [here is] inappropriate.” NutraSweet Co. v. Vit-Mar

Enterprises, Inc., 176 F.3d 151, 153 (3d Cir. 1999).




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                                         CONCLUSION

         For all the foregoing reasons, Plaintiffs’ Motion to Cease and Desist must be denied.


Dated:    New York, New York
          December 20, 2022
                                      Respectfully submitted,


 MAZZOLA MARDON, P.C.                                O’DONOGHUE & O’DONOGHUE, LLP


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 Association and Stephen Knott                       International Longshoremen’s
                                                     Association and Stephen Knott




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                                CERTIFICATE OF SERVICE

       I, Lance Geren, certify that on December 20, 2022, the foregoing document was filed

electronically with the Clerk of the Court and served by first-class mail upon Plaintiff “Delta Hill

(Deta)”.



                                                     /s/ Lance Geren
                                                     LANCE GEREN
